          Case 1:22-cv-01596-JPO Document 14 Filed 04/12/22 Page 1 of 1

                          LEVIN-EPSTEIN & ASSOCIATES, P.C.
_____________________________________________________________________________________________
                          60 East 42nd Street • Suite 4700 • New York, New York 10165
                                 T: 212.792-0046 • E: Joshua@levinepstein.com

                                         CONSENT TO SUE

By my signature below, I hereby authorize the filing and prosecution of claims in my name and
on my behalf to contest the failure of 787 Coffee LLC and its owners and affiliates to pay me, inter
alia, overtime wages as required under state and/or federal law and also authorize the filing of this
consent in the lawsuit challenging such conduct, and consent to being named as a representative
plaintiff in this action to make decisions on behalf of all other plaintiffs concerning all aspects of
this lawsuit. I have been provided with a copy of a retainer agreement with the law firm of Levin-
Epstein & Associates, P.C., and I agree to be bound by its terms.




SHERIDAN PLUNKETT


_____________________________
Sheridan Plunkett




Dated: ________________________




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